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 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,             ) Case No.: 1:12-CR-00340-AWI-
                                           ) BAM
11               Plaintiff,                )
                                           )
12                                         ) STIPULATION AND ORDER TO
          vs.                              ) VACATE STATUS CONFERENCE AND
13                                         ) SCHEDULE CHANGE OF PLEA
                                           ) HEARING
14                                         )
     MANJOT NANNER,                        )
15                                         ) Date: January 27, 2014
                 Defendant.                ) Time: 1:00 p.m.
16                                         ) Hon. Barbara McAuliffe
17
          Plaintiff United States of America, by and through its
18
     counsel of record, and defendant, by and through his counsel
19
     of record, hereby stipulate as follows:
20
          1. By previous order, this matter was set for status
21
     conference on January 27, 2014, at 1:00 p.m. before Judge
22
     McAuliffe.
23
          2. By this stipulation, defendant now moves for a Change
24
     of Plea hearing before Judge Ishii on January 27, 2014, at
25
     10:00 a.m. Plaintiff does not oppose this request.
26
          3. The parties agree and stipulate, and request that the
27
     Court find the following:
28
                                            - 1 -
                Stipulation and [Proposed] Order to Vacate Status Conference
                              Case No.: 1:12-CR-00340 AWI-BAM
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 1                a. The government and the Defendant have come to an
 2         agreement and Defendant wishes to change his plea.
 3                b. The government does not object to the continuance.
 4

 5   IT IS SO STIPULATED.
 6
     Dated: January 15, 2014
 7
                                               /s/ Kevin P. Rooney
 8
                                               Assistant United States
 9
                                               Attorney

10
     Dated: January 15, 2014
11
                                               /s/ Anthony P. Capozzi
12
                                               Anthony P. Capozzi
13
                                               Attorney for
                                               MANJOT NANNER
14

15

16                                        ORDER
17

18         IT IS ORDERED that the Status Conference currently
19   scheduled for January 27, 2014, at 1:00 p.m. in front of
20   Judge McAuliffe is changed to a Change of Plea hearing in
21   front of Judge Ishii on January 27, 2014, at 10:00 a.m.
22

23   IT IS SO ORDERED.

24   Dated: January 16, 2014
                                        SENIOR DISTRICT JUDGE
25

26

27

28
                                            - 2 -
                Stipulation and [Proposed] Order to Vacate Status Conference
                              Case No.: 1:12-CR-00340 AWI-BAM
